                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
                                                    )       No. 3:07-CR-51
V.                                                  )       (PHILLIPS/SHIRLEY)
                                                    )
                                                    )
                                                    )
MATTHEW ORR                                         )

                       ORDER OF DETENTION PENDING TRIAL


              An initial appearance, arraignment, and detention hearing were held in this case

on May 8, 2007. David Jennings, Assistant United States Attorney, was present representing

the government, and Alexander Brown was present representing the defendant. Before the

detention hearing began, counsel for the defendant stated that the defendant wished to waive

his right to a detention hearing at this time, and reserve the right to have a hearing at a later

date, if appropriate. Pursuant to the defendant signing a Waiver of Detention Hearing, the

defendant is to be detained. 18 U.S.C. § 3142(f)(2)(B). The government stated they had no

objections. The defendant was present and stated that he knew he would remain in jail

pending trial. For good cause, and by agreement of the defendant, this detention hearing is

waived and the defendant is detained.

              The defendant is aware of his rights to a prompt detention hearing and to

require the government to meet its burden of proving that no conditions of release exist

which will reasonably assure his appearance in court and the safety of the community. The


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defendant knows that if his detention hearing is waived he will remain in custody while it is

continued. The defendant acknowledged in open court that he understands his rights and the

consequences of waiving his detention hearing.

              For good cause shown, the defendant’s request not to contest, and to waive the

detention hearing is hereby GRANTED.

              It is therefore ORDERED that:

              (1)    Defendant be detained.;

              (2)    Defendant be committed to the custody of the Attorney
                     General for confinement in a corrections facility separate, to
                     the extent practicable, from persons awaiting or serving
                     sentences or being held in custody pending appeal;

              (3)    Defendant be afforded reasonable opportunity for private
                     consultation with counsel; and

              (4)    On order of a court of the United States or on request of an
                     attorney for the government, the person in charge of the
                     corrections facility in which the defendant is confined
                     deliver the defendant to a United States marshal for the
                     purpose of an appearance in connection with any court
                     proceeding.


                                   ENTER:

                                       s/C. Clifford Shirley, Jr.
                                   United States Magistrate Judge




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